             Case 6:20-cv-00781-HZ    Document 5    Filed 06/27/20      Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

THOMAS ROBERT MURPHY,
                                                         Case No. 6:20-CV-00781-HZ
                      Plaintiff,
                                                                  ORDER
        v.

JUDGE MUSTAFA KASUBHAI,

                      Defendant.

HERNANDEZ, District Judge.

        Plaintiff      initiated his fifth civil rights case by filing

an in forma pauperis Application                  (which the Court granted in a

separate Order) and a document entitled "Cause of Action," which

the Clerk construed as Plaintiff's attempt to file a complaint.

Plaintiff's        pleading      is   not,    however,    a    formal     complaint.   It

lacks     a    caption     and   fails   to    properly       identify     the   parties,

making it difficult to determine the identities of the parties

to     this     lawsuit.   Where      Plaintiff    has    not    filed     a   conforming

complaint with the Court, Plaintiff fails to comply with Fed. R.

Civ.    P.    3 which provides that "[a]           civil action is commenced by

         1 - ORDER
        Case 6:20-cv-00781-HZ            Document 5          Filed 06/27/20       Page 2 of 4




filing a complaint with the court." However,                                 even if Plaintiff

were to cure this deficiency, he cannot state a valid claim for

pleading purposes.

                                            STANDARDS

       Dismissal         is     appropriate         if      Plaintiff        fails        to    state     a

claim upon which relief                   can be granted.              See    Fed.        R.    Ci v.    P.

12(b) (6).        Plaintiff's          Complaint         should      not     be     dismissed           for

failure      to    state      a    claim,     however,            unless    it     appears          beyond

doubt that Plaintiff can prove no set of facts in support of his

claim which         would         entitle     him      to    relief.       Terracom        v.       Valley

Nat'l Bank,        49 F.3d 555, 558 (9th Cir. 1995).

       Dismissal for failure to state a                            claim is a         ruling on a

question of law.              Parks School          of Business,           Inc.,     v.    Symington,

51 F.3d 1480,            1483      (9th Cir.        1995).        Review is limited to the

contents      of        the     Complaint        and        its    Exhibits.         Id        at     1484.

Allegations of fact in the Complaint must be taken as true and

construed in the light most favorable to the non-moving party.

Id.   From        the    facts        alleged,      the      court     also        must        draw     all

reasonable inferences in favor of the Plaintiff.                                     Usher v.          City

of    Los    Angeles,           828    F.2d      556,        561    (9th      Cir.        1987).        But

conclusory allegations,                 without more,             are insufficient to state



       2 - ORDER
          Case 6:20-cv-00781-HZ     Document 5       Filed 06/27/20    Page 3 of 4




a claim. McGlinchy v. Shell Chemical Co., 845 F.2d 802, 810 (9th

Cir. 1988).

                                     DISCUSSION

       Plaintiff     alleges      that      Judges    Mustafa     Kasubhai          and   Ann

Aiken,    as well as Pretrial Services Officers Lisa Brown,                            Scott

Williams,     and Nick Straneiri,                illegally ordered that             computer

monitoring software be installed on his computer as a condition

of his pretrial release.            He appears to ask this Court to hold

Defendants criminally liable and award him $250,000 in damages.

Such     claims   are    foreclosed         by    judicial     immunity       and     quasi-

judicial immunity which generally bar complaints against judges

and pretrial services officers. Stump v. Sparkman,                         435 U.S. 349

(1978);    Whitesel     v.   Sengenberger,          222 F.3d 861,       869    (10 th Cir.

2000).     Summary      dismissal      is        therefore     appropriate.          Because

Plaintiff     cannot     cure   this     deficiency          through   amendment,         the

dismissal is with prejudice and without leave to amend.

Ill
Ill
Ill
Ill
Ill
Ill
         3 - ORDER
         Case 6:20-cv-00781-HZ   Document 5    Filed 06/27/20   Page 4 of 4




                                   CONCLUSION

       Plaintiff's    "Complaint"     (#2)    is   summarily     dismissed      with

prejudice.      Additionally,    for the reasons set forth above,               this

court certifies that any appeal              from this order       would      not be

taken in good faith.      See    28 U.S.C. § 191S(a) (3);       Fed. R. App. P.

24 (a) ( 3) (A) •

       IT IS SO ORDERED.

                    )1 day of June, 2020.
       DATED this ______




                                       6'    MarcOi: Hernkndez
                                             United States District Judge




        4 - ORDER
